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UNITED STATES DISTRICT COURT

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Deputy
WILLIE MAE HALL PLAINTIFF
VERsUs CIVIL ACTIoN No. l ? lLiC/l/\O@’ D/Y\@'DAS

ROBERT L. NUNEZ, M.D.,

B.L. SULLIVAN, M.D.,

WINSTON COUNTY FAMILY MEDICAL CLINIC,

WINSTON COUNTY HOSPITAL, AND

UNITED STATES OF AMERICA DEFENDANTS

COMPLAINT

COMES NOW the Plaintiff, Willie Mae Hall, by and through her attorneys of record,

and files her Complaint herein alleging the following:

PARTIES

1. The Plaintiff Willie Mae Hall is an adult resident citizen of Winston County,
Mississippi.

2. The Defendant Robert L. Nunez, M.D. may be served with process pursuant
to the F ederal Rules of Civz'l Procedure at the Winston County Family Medical Clinic, l 10
Beal Avenue, Lousiville, MS 39339.

3. The Defendant United States of America is the employer of Robert L. Nunez,
M.D. and has claimed responsibility for his actions. The United States of America should

be served with process pursuant to the Fea'eral Rules of Cz`vz`l Procedure. Appropriate

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statutory notice has been provided to the Defendant United States of America and the
appropriate agency has not filed any response during the time required. Accordingly, the
Plaintiff is now authorized to tile suit against the Defendant United States of America.

4. The Defendant Winston County Hospital is a healthcare facility organized and
existing under the laws of the State of Mississippi, which may be served with process by
service upon its ChiefExecutive Ofiicer, Lee McCall, P.O. Box 967, Louisville, Mississippi
39339.

5. The Defendant B. L. Sullivan, M.D. may be served with process pursuant to
the Federal Rules of Cz'vz'l Procedure at the Winston County Hospital, 52 E. Main,
Lousiville, MS 39339.

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6. This Court has jurisdiction since the United States of America is a Defendant

and this Court may exercise supplemental jurisdiction over the State law claims.

FACTUAL STATEMENT
7. At all relevant times and in accordance with the federally supported Health
Center’s Assistance Act (FSHCAA) as amended, 224(g)-CN) of the Public Health Service
Act, 42 U.S. 233(g)-CN), GMHC was an employee of the Public Health Service.
8. At all relevant times Greater Meridian Health Care (GMHC) operated a clinic

in Louisville, Mississippi known as the Winston County Family Medical Clinic (WCFMC).

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9. At all relevant times Dr. Robert L. Nunez was an employee of GMHC at the
WCFMC.

10. At all relevant time the Claimant was a patient of Defendants.

ll. On February 6, 2012, the Claimant, pursuant to the order issued by Dr. Nunez,
underwent a mammogram at the WCFMC. The radiological report, a copy of which was
presented to Dr. Nunez, recommended that the Claimant have a follow up mammogram in
six (6) months.

12. On August 3, 2012, pursuant to the order of Dr. Nunez, the Claimant
underwent a second mammogram. At that time, the radiology report, of B.L. Sullivan, M.D.,
which was forwarded to Dr. Nunez informed him that the study suggested that the Claimant
had a breast lesion that may be malignant and that a surgical biopsy was recommended.

13 . On August 27, 2013, the Claimant presented to WCFMC and Dr. Nunez where
she was informed that she has nothing to worry about concerning her mammogram and that
she was okay.

l4. In July of 2013, Claimant was examined by another physician who ordered a
surgical biopsy of Claimant’s breast which revealed that her lesion was in fact malignant.

15. Subsequent medical studies revealed that Claimant’s untreated breast cancer

had metasticized to multiple organs, including her brain, liver and kidneys.

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DUTIES & BREACHES

16. In connection with the care and treatment of the Claimant, the Defendants
deviated from the applicable standards of care in regard to the evaluation diagnosis and
treatment of breast cancer. Specifically, the Defendants failed to timely diagnose, treat, and
followup with the Claimant, thereby causing her aggressive breast cancer to go untreated and
metasticized in multiple organs, including her brain, kidneys and liver.

17. As a result of the negligence of the Defendants, the Claimant has sustained the
following damages:

(a) past, present and future pain, suffering and mental anguish,
(b) loss of enjoyment of life;

(c) decreased life expectancy;

(d) disfigurement; and

(e) past, present and future medical expenses.

18. The Claimant seeks damages in the amount of $5,000,000.00, plus
reimbursement for all medical expenses or the maximum amount allowed by the Federal Tort
Claims Act, whichever is less.

WHEREFORE, PREMISES CONSIDERED, the Plaintiff Willie Mae Hall demands
judgment of and from the Defendants in an amount to be determined by the jury in this cause

in excess of the minimal jurisdictional limits of this Court.

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Plaintiff respectfullyzuests a trial by jury on all issues so triable.

Dated: This the ay of June, 2014.

Respectfully submitted,

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